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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


UNITED STATES OF AMERICA

vs.                                         CASE NO: 8:08-cr-73-T-EAK-TBM

ANDRES ARIOLA SELES
______________________________/


 Order Granting Defendant’s Unopposed Motion for Prison-Term Reduction Under
               18 U.S.C. § 3582(c)(2) Based on USSG Amend. 782

       Before the Court is the defendant’s motion to reduce his prison term under 18 U.S.C.

§ 3582(c)(2) based on USSG Amend. 782, a retroactive guideline amendment, see USSG

§1B1.10(d) (2014). Doc.134. The United States does not oppose a reduction. Doc. 134. The

parties stipulate that he is eligible for a reduction because Amendment 782 reduces the

guideline range applicable to him, see USSG §1B1.10(a)(1). Doc. 134. The Court agrees that

he is eligible for a reduction and adopts the amended guideline calculations in the parties’

stipulation. Doc. 134.

       Having reviewed the facts in both the original presentence investigation report and the

February 12, 2015 memorandum from the United States Probation Office in light of the

factors in 18 U.S.C. § 3553(a) and the need to consider the nature and seriousness of any

danger posed by a reduction, see USSG §1B1.10, comment. (n.1(B)(ii)), the Court finds that

a reduction of 17 months is warranted, as to Count I. Consistent with USSG §1B1.10(e)(1),

and in light of the practical difficulties of a possible release date on Sunday, November 1,

2015, the effective date of this order is November 2, 2015.

       Thus:

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      1.     The Court grants the defendant’s motion, Doc. 134.

      2.     The Court reduces the defendant’s prison term from 87 to 70 months or

             time served. Count III remains 60 months to run consecutively.

      3.     The effective date of this order is November 2, 2015.

      DONE and ORDERED in Chambers, Tampa, Florida on July 24, 2015.




      Copies to:

      Counsel of Record
      Magistrate Judge
      United States Marshals Service
      United States Probation Office
      United States Pretrial Services




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